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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

caseno. 2O-GOOTT- cR-- ALTMAN

18 U.S.C. § 371

26 U.S.C. § 7206(2) OD a ¢ i ms -YWh0-dTA

UNITED STATES OF AMERICA

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VS. ———_ RECEIVED
wmemeeme. ENTERED bis ——___ SERVED ON

ARTIES OF RECORD

NAPOLEON TABOT,
LOVET AYUK-AKO,
and AUG =5 2024
ARNOLD ZIO, ao:
Defendants. TNR
. an Sr
BY: DEPUTY
INDICTMENT ma

The Grand Jury charges that:
GENERAL ALLEGATIONS

At times material to this Indictment:

.. LOVET AYUK-AKO owned Money Back Tax, LLC, (hereinafter, “Money Back
Tax’) a tax preparation business located in Maryland which had clients located in Florida,
Maryland, Washington, D.C., and Virginia.

Z As reflected on the Internal Revenue Service Electronic Filing Identification
Number Summary Record as of October, 2016, ARNOLD ZIO was listed as the CEO and

President of Platinum Citizens Financial, LLC d/b/a FTP Tax Services, a Delaware tax return

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(| eS Between December 2008 and April 2017, NAPOLEON TABOT was an employee

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of the Seminole Hard Rock Casino in Hollywood, Florida.

4, LOVET AYUK-AKO, utilizing the business name Money Back Tax, maintained

bank accounts at TD Bank ending in 1662, 1993, 2008, 2107, 2157, 2165, 2173, 2181, 2199, 2371,

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6144, and 6152; bank accounts at Citibank ending in 3623, 3935, and 3631; bank accounts at
Capital One Bank ending in 4774, 9022, 9065, 7931, 8377, 7243, 7251, 7278, 7286, 7294, 7308,
7316, 7324, 7332, 7340, 7359, 7367, 7383, 7391, 7405, 7413, 7421, 7448, 7456, 7464, 7472, 7480,
7499, 7502, 7510, 7529, 7537, 8075, 7627, 7643, 7856, 7864, 7880, 7899, 7902, 7685, 7693, 7707,
7545, 7553, 7561, 7588, 7626, 7634, 7642, 7650, 7669, 7677, 7596, 7618, 9786, 9794, 9808, 9816,
9824, 9840, 9859, 9867, 9875, 9891, 9905, 9913, 9921, 9948, 9956, 9964, 9972, 9980, 9999, 0008,

0016, 0024, 0032, 0040, 0059, 0067, 0075, 0083, 0091, 0105, 0113, 0121, 0148, 0156, 0318, and

8778; bank accounts at PNC Bank ending in 0897, 9999, 0068, 0076, 0084, 0172, 0113, 0121,
1507, 0148, and 1494; and bank accounts at Bank of America ending in 4064, 4077, 4080, 4093,
and 4103.

=. ARNOLD ZIO, utilizing the business name “Platinum Citizens Financial, LLC
d/b/a FTP Tax Services,” maintained bank accounts at Bank of America ending in 5663, 5676,
5689, 2759, 1021, and 1034; bank accounts at JP Morgan Chase Bank accounts ending in 5925,
7517, 1077, 1819, 1827, 2296, 6968, 7875, 1505, 1513, and 5365; bank accounts at TD Bank
ending in 4786, 2714, 6650, 6668, 6676, 7137, 7921, 7939, and 7947; and bank accounts at Wells
Fargo Bank ending in 4141 and 4641.

6. IRS Form 8888, entitled “Allocation of Refund,” allows the IRS to deposit a

taxpayer’s tax refunds into multiple bank accounts.

COUNT 1
Conspiracy to Defraud the United States
(18 U.S.C. § 371)

L Paragraphs | through 6 of the General Allegations are incorporated by reference as
though re-alleged in the entirety herein.
2 Beginning on or about February 9, 2016, and continuing until on or about February

28, 2020, in Broward County, in the Southern District of Florida, and elsewhere, the defendants,

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NAPOLEON TABOT,
LOVET AYUK-AKO,
and
ARNOLD ZIO,

did unlawfully, voluntarily, intentionally and knowingly conspire, combine, confederate, and
agree with each other and with other individuals both known and unknown to the Grand Jury to
defraud the United States for the purpose of impeding, impairing, obstructing, and defeating the

lawful Government functions of the Internal Revenue Service of the Treasury Department in the

ascertainment, computation, assessment, and collection of the revenue, to wit, federal individual

income taxes.

OBJECT OF THE CONSPIRACY

2 It was the object of this conspiracy for the defendants to unjustly enrich themselves
by filing and causing to be filed false tax returns which claimed inflated refunds and directing part
or all of the refunds to be deposited into bank accounts controlled by the defendants and their co-

conspirators, without the taxpayers’ knowledge or consent.

MANNER AND MEANS

The manner and means by which the defendants and their co-conspirators sought to
accomplish the object of the conspiracy included, among others, the following:

4, NAPOLEON TABOT recruited clients to LOVET AYUK-AKO’s tax return
preparation business, Money Back Tax, during tax years 2015 and 2016. NAPOLEON TABOT
would collect Forms W-2, Wage and Tax Statements, from his friends and others at the Seminole
Hard Rock Casino and input this information into a commercially available tax software system.

S, ARNOLD ZIO prepared tax returns for LOVET AYUK-AKO at Money Back

Tax during tax year 2015.

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6. LOVET AYUK-AKO, as the owner and operator of Money Back Tax, prepared
false Forms 1040 claiming refunds based on false deductions reported on Forms 1040 Schedule A
Itemized Deductions, (hereinafter, “Schedule A”), and false business income and expenses
reported on Forms 1040 Schedule C Profit or Loss from Business, (hereinafter, “Schedule C”’) for
clients who utilized Money Back Tax’s tax preparation services.

Ts In some instances, LOVET AYUK-AKO would cause part of the tax refund to be

deposited into either bank accounts under his control or co-conspirators’ bank accounts, by filing

a Form 8888. LOVET AYUK-AKO did not tell his clients that he was redirecting a portion of
their tax refund to either his or a co-conspirator’s bank account.

8. If a taxpayer requested a copy of the completed tax return and a Form 8888 had
been filed, LOVET AYUK-AKO would change the amount of the refund to reflect only the
amount that was to be deposited into the taxpayer’s bank account and would remove any reference
to either accounts under his control or co-conspirator accounts, including removing Form 8888
from the package.

9. NAPOLEON TABOT recruited clients to ARNOLD ZIO’s tax return preparation
business, Platinum Citizens Financial, LLC d/b/a FTP Tax Services, during tax years 2016, 2017,
2018, and 2019. NAPOLEON TABOT would collect Forms W-2, Wage and Tax Statements,
from his friends and others at the Seminole Hard Rock Casino and input this information into a
commercially available tax software system.

10. ARNOLD ZIO, as the owner and operator of Platinum Citizens Financial, LLC
d/b/a FTP Tax Services, prepared false Forms 1040 claiming refunds based on false deductions
reported on Forms 1040 Schedule A and false business income and expenses reported on Forms

1040 Schedule C, for clients who utilized FTP Tax Services’ tax preparation services

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OVERT ACTS

In furtherance of the conspiracy and to effect its object, at least one of the co-conspirators
committed, and caused to be committed, in the Southern District of Florida, at least one of the
following overt acts:

11. In or about early 2016, NAPOLEON TABOT approached a co-worker bearing the
initials “A.B.” at the Seminole Hard Rock Casino and offered to prepare her 2015 individual tax
return.

12. In or about early 2016, NAPOLEON TABOT obtained tax information from
“A B.” and transmitted it to LOVET AYUK-AKO at Money Back Tax for preparation of “A.B.’s”
2015 IRS Form 1040 Individual Tax Return.

13. On or about April 5, 2016, LOVET AYUK-AKO filed and caused to be filed, a
false 2015 IRS Form 1040 Individual Tax Return on behalf of “A.B.,” claiming a tax refund in the
amount of $5,034, which contained false Schedule A expenses relating to sales tax, other taxes,
vehicles, unreimbursed employee business expenses, and gambling losses.

14. On or about June 2, 2016, as aresult of an IRS Form 8888 filed by LOVET AYUK-
AKO, a partial refund of $2,043.13 was deposited into LOVET AYUK-AKO’s Money Back Tax
TD Bank account ending in 2181.

15. Inor about early 2016, NAPOLEON TABOT approached a co-worker bearing the

initials “G.A.” at the Seminole Hard Rock Casino and offered to prepare her 2015 individual tax

return.

16. In or about early 2016, NAPOLEON TABOT obtained tax information from

“G_A.” and transmitted it to LOVET AYUK-AKO at Money Back Tax for preparation of “G.A’s”

2015 IRS Form 1040 Individual Tax Return.

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17. On or about March 18, 2016, LOVET AYUK-AKO filed and caused to be filed, a
false 2015 IRS Form 1040 Individual Tax Return on behalf of “G.A.,” claiming a tax refund in the
amount of $6,567, which contained false Schedule A expenses relating to sales tax, charitable
contributions, unreimbursed employee business expenses, and gambling losses.

18. On or about March 30, 2016, as a result of an IRS Form 8888 filed by LOVET
AYUK-AKO, a partial refund of $1,192 was deposited into LOVET AYUK-AKO’s Money Back
Tax Capital One Bank account ending in 0121.

19. In or about early 2017, NAPOLEON TABOT approached a co-worker bearing the

initials “B.O.” at the Seminole Hard Rock Casino in Hollywood, Florida and offered to prepare

her 2016 individual tax return.

20. In or about early 2017, NAPOLEON TABOT obtained tax information from
“B.O.,” and transmitted it to LOVET AYUK-AKO at Money Back Tax for preparation of
“B.O.’s” 2016 IRS Form 1040 Individual Tax Return.

21. On or about February 24, 2017, LOVET AYUK-AKO filed and caused to be filed,
a false 2016 IRS Form 1040 Individual Tax Return on behalf of “B.O.,” claiming a tax refund in
the amount of $8,330, which contained false Schedule A expenses relating to sales tax, property
tax, charitable contributions, and unreimbursed employee business expenses.

22. On or about March 15, 2017, as a result of an IRS Form 8888 filed by LOVET
AYUK-AKO, a partial refund of $4,330 was deposited into LOVET AYUK-AKO’s Money Back
Tax PNC Bank account ending in 0172.

a3. In or about early 2017, NAPOLEON TABOT approached a co-worker bearing the

initials “I.S.” at the Seminole Hard Rock Casino in Hollywood, Florida and offered to prepare her

2016 individual tax return.

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24. In or about early 2017; NAPOLEON TABOT obtained tax information from
“1.S.,” and transmitted it to LOVET AYUK-AKO at Money Back Tax for preparation of I.S.’s
2016 IRS Form 1040 Individual Tax Return.

25, On or about February 23, 2017, LOVET AYUK-AKO filed and caused to be filed,
a false 2016 IRS Form 1040 Individual Tax Return on behalf of “I.S.,” claiming a tax refund in
the amount of $9,399, which contained false Schedule A expenses relating to sales tax, charitable
contributions, unreimbursed employee business expenses, and gambling losses.

26. On or about May 10, 2017, as a result of an IRS Form 8888 filed by LOVET

AYUK-AKO, a partial refund of $4,399 was deposited into LOVET AYUK-AKO’s Money Back
Tax PNC Bank account ending in 0084.

27. In or about early 2017, NAPOLEON TABOT approached a co-worker bearing the
initials “G.M.I.” at the Seminole Hard Rock Casino in Hollywood, Florida and offered to prepare
her 2016 individual tax return.

28. In or about early 2017, NAPOLEON TABOT obtained tax information from
“G.M.I.,” and transmitted it to ARNOLD ZIO at FTP Tax Services for preparation of “G.M.I.’s”
2016 IRS Form 1040 Individual Tax Return.

29. On or about March 28, 2017, ARNOLD ZIO filed and caused to be filed, a false
2016 IRS Form 1040 Individual Tax Return on behalf of “G.M.1.,” claiming a tax refund in the
amount of $3,564, which contained false Schedule A expenses relating to sales tax, charitable
contributions, vehicles, unreimbursed employee business expenses, and gambling losses.

30. On or about March 28, 2017, ARNOLD ZIO attempted to obtain a tax refund on
behalf of taxpayer “G.M.I.” in the amount of $3,564 and directed that the IRS deposit the full

amount into his JP Morgan Chase bank account ending in 5365.

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31. In February of 2017, NAPOLEON TABOT approached a co-worker bearing the
initials “T.P.” at the Seminole Hard Rock Casino in Hollywood, Florida and offered to prepare her
2016 individual tax return.

32. On approximately February 19, 2017, NAPOLEON TABOT obtained tax
information from “T.P.,” and transmitted it to ARNOLD ZIO at FTP Tax Services for preparation
of “T.P.’s” 2016 IRS Form 1040 Individual Tax Return.

33. On or about March 3, 2017, ARNOLD ZIO filed and caused to be filed, a false
2016 IRS Form 1040 Individual Tax Return on behalf of “T.P.,” claiming a tax refund in the
amount of $3,431, which contained false Schedule A expenses relating to sales tax, charitable
contributions, and unreimbursed employee business expenses and false Schedule C expenses
involving business and vehicle expenses.

34. | On or about March 3, 2017, ARNOLD ZIO attempted to obtain a tax refund on
behalf of taxpayer “T.P.” in the amount of $3,431 and directed that the IRS deposit the full amount

into his JP Morgan Chase bank account ending in 1819.
COUNT 2
(Aiding and Assisting in the Preparation and Presentation
of a False and Fraudulent Return)
26 U.S.C. § 7206(2)
On or about January 31, 2017, in Broward County, in the Southern District of Florida, the

defendants,

NAPOLEON TABOT
and ARNOLD ZIO,

did willfully aid and assist in, and procure, counsel, and advise the preparation and presentation to

the Internal Revenue Service, of a U.S. Individual Income Tax Return, Form 1040, of taxpayer

“T F..” for the calendar year 2016, which was false and fraudulent as to a material matter, in that

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it represented that “T.F.” was entitled to claim Schedule A total deductions of $43,363 in Schedule
A expenses involving sales tax, charitable contributions, unreimbursed employee business
expenses, and gambling losses, when in truth and in fact, as the defendants well knew, “T.F.” was
not entitled to claim that amount, in violation of Title 26, United States Code, Section 7206(2) and

Title 18, United States Code, Section 2.

COUNT 3
(Aiding and Assisting in the Preparation and Presentation
of a False and Fraudulent Return)
26 U.S.C. § 7206(2)
On or about February 9, 2017, in Broward County, in the Southern District of Florida, the

defendants,

NAPOLEON TABOT
and ARNOLD ZIO,

did willfully aid and assist in, and procure, counsel, and advise the preparation and presentation to
the Internal Revenue Service, of a U.S. Individual Income Tax Return, Form 1040, of taxpayer
“G.A.,” for the calendar year 2016, which was false and fraudulent as to a material matter, in that
it represented that “G.A.” was entitled to claim Schedule A total deductions of $46,384 involving
sales tax, charitable contributions, unreimbursed employee business expenses, and gambling
losses, when in truth and in fact, as the defendants well knew, “G.A.” was not entitled to claim
that amount, in violation of Title 26, United States Code, Section 7206(2) and Title 18, United

States Code, Section 2.

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COUNT 4
(Aiding and Assisting in the Preparation and Presentation
of a False and Fraudulent Return)
26 U.S.C. § 7206(2)
On or about March 3, 2017, in Broward County, in the Southern District of Florida, the

defendants,

NAPOLEON TABOT
and ARNOLD ZIO,

did willfully aid and assist in, and procure, counsel, and advise the preparation and presentation to
the Internal Revenue Service, of a U.S. Individual Income Tax Return, Form 1040, of taxpayer
“TP.” for the calendar year 2016, which was false and fraudulent as to a material matter, in that
it represented that “T.P.” was entitled to claim Schedule A total deductions of $43,734 involving
sales tax, charitable contributions, and unreimbursed employee business expenses, and was
entitled to claim Schedule C losses of $8,889 involving business and vehicle expenses, when in
truth and in fact, as the defendants well knew, “T.P.” was not entitled to claim those amounts, in
violation of Title 26, United States Code, Section 7206(2) and Title 18, United States Code,

Section 2.

COUNT 5
(Aiding and Assisting in the Preparation and Presentation
of a False and Fraudulent Return)
26 U.S.C. § 7206(2)

On or about March 28, 2017, in Broward County, in the Southern District of Florida, the

defendants,

NAPOLEON TABOT
and ARNOLD ZIO,

did willfully aid and assist in, and procure, counsel, and advise the preparation and presentation to

the Internal Revenue Service, of a U.S. Individual Income Tax Return, Form 1040, of taxpayer

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“GM.L.,” for the calendar year 2016, which was false and fraudulent as to a material matter, in
that it represented that ““G.M.I.” was entitled to claim Schedule A total deductions of $45,025
involving sales tax, charitable contributions, vehicles, unreimbursed employee business expenses,
and gambling losses, when in truth and in fact, as the defendants well knew, “G.M.I.” was not
entitled to claim that amount, in violation of Title 26, United States Code, Section 7206(2) and

Title 18, United States Code, Section 2.

A TRUE BILL
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FOREPERSOW eT
Daas ah fn lah? “ile
MARKENZY ZAPOINTE
UNITED STATES ATTORNEY

Naw (va

MARC 8. ANTON
ASSISTANT UNITED STATES ATTORNEY

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA CASE NO.:

V.
CERTIFICATE OF TRIAL ATTORNEY
NAPOLEON TABOT, et al.

/ Superseding Case Information:
Defendants. New Defendant(s) (Yes or No)
Court Division (select one) Number of New Defendants
OMiami [Key West [FTP Total number of counts
EI FTL C1 WPB

I [ hereby certify that:
. [have carefully considered the allegations of the indictment, the number of defendants, the number of probable
witnesses and the legal complexities of the Indictment/Information attached hereto.
2. lam aware that the information supplied on this statement will be relied upon by the Judges of this Court in setting
their calendars and scheduling criminal trials under the mandate of the Speedy Trial Act, Title 28 U.S.C. §3161.

3. Interpreter: (Yes or No) No
List language and/or dialect:

4. This case will take__ days for the parties to try.

5. Please check appropriate category and type of offense listed below:

(Check only one) (Check only one)
I fl Oto 5 days C1 Petty

Il 1 6to 10 days C1 Minor

IW [111 to 20 days [] Misdemeanor
IV 1121 to 60 days El Felony

V_ (161 days and over

6. Has this case been previously filed in this District Court? (Yes or No) No
If yes, Judge Case No.
7. Has acomplaint been filed in this matter? (Yes or No) No
If yes, Magistrate Case No.
8. Does this case relate to a previously filed matter in this District Court? (Yes or No) No
If yes, Judge Case No.
9. Defendant(s) in federal custody as of
10. Defendant(s) in state custody as of
11. Rule 20 from the______ District of
12. Is this a potential death penalty case? (Yes or No) No
13. Does this case originate from a matter pending in the Northern Region of the U.S. Attommey’s Office
prior to August 8, 2014 (Mag. Judge Shaniek Maynard? (Yes or No) No
14. Does this case originate from a matter pending in the Central Region of the U.S. Attorney’s Office
prior to October 3, 2019 (Mag. Judge Jared Strauss? (Yes or No) No
15. Did this matter involve the participation of or consultation with now Magistrate Judge Eduardo I. Sanchez
during his tenure at the U.S. Attorney’s Office, which concluded on January 22, 2023? No

By:

Marc S. Anton
Assistant United States Attorney

FL Bar No. 0148369

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET

Defendant's Name: NAPOLEON TABOT

Case No:

Count #: 1

Conspiracy to Defraud the United States

In violation of Title 18, United States Code, Section 371

* Max. Penalty: Five (5) years’ imprisonment; $250,000 fine; and three (3) years’ supervised release.

Counts #: 2-5

Aiding and Assisting in the Preparation and Presentation of a False and Fraudulent Return

In violation of Title 26, United States Code, Section 7206(2)

*Max., Penalty: Three (3) years’ imprisonment; $250,000 fine; and three (3) years’ supervised release.

Count #:

*Max. Penalty:

Count #:

*Max. Penalty:

aRefers only to possible term of incarceration, does not include possible fines, restitution, special
assessments, parole terms or forfeitures that may be applicable.

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET

Defendant's Name: LOVET AYUK-AKO

Case No:

Count #: 1

Conspiracy to Defraud the United States

In violation of Title 18, United States Code. Section 371

* Max. Penalty: Five (5) years’ imprisonment; $250,000 fine; and three (3) years’ supervised release.

Counts #:

*Max. Penalty:

Count #:

*Max. Penalty:

Count #:

*Max. Penalty:

aRefers only to possible term of incarceration, does not include possible fines, restitution, special
assessments, parole terms or forfeitures that may be applicable.

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET

Defendant's Name: ARNOLD ZIO

Case No:

Count #: |

Conspiracy to Defraud the United States

In violation of Title 18, United States Code, Section 371

* Max. Penalty: Five (5) years’ imprisonment; $250,000 fine; and three (3) years’ supervised release.

Counts #: 2-5

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Counts #:

*Max. Penalty:

Count #:

*Max. Penalty:

aRefers only to possible term of incarceration, does not include possible fines, restitution, special
assessments, parole terms or forfeitures that may be applicable.

